       Case 1:20-cv-00985-GBW Document 274 Filed 11/20/23 Page 1 of 1 PageID #: 5542


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                                               November 20, 2023
       VIA E-FILING
       The Honorable Gregory B. Williams
       United States District Court for the District of Delaware
       844 N. King Street, Room 6124
       Wilmington, DE 19801

               Re:       Acadia Pharmaceuticals Inc. v. Aurobindo Pharma Limited, et al.
                         C.A. No. 20-985-GBW

       Dear Judge Williams:
              I write on behalf of Acadia in the above-referenced matter to provide an update to the Court
       with additional information regarding the timing discussed during the motion for summary
       judgment hearing, held on September 27, 2022.
                At the end of argument, the Court inquired whether a decision was necessary prior to the
       expiration of the regulatory stay occurring in October 2023. In response, the parties had previously
       indicated that there was no urgency to issue a decision before that expiration because MSN had
       filed Paragraph 3 notices with respect to other patents listed in the FDA Orange Book. See Ex. A,
       Tr., at 74:3-16. Therefore, MSN would not receive approval until those patents expire on January
       15, 2024. See Tr. at 74:18-24.
               Acadia would like to respectfully bring to the Court’s attention that, although the January
       15 expiration remains, Acadia would potentially need to take certain actions with the United States
       Patent and Trademark Office approximately one month prior to those patents expiring, depending
       on the outcome of the motion.
               Acadia is available at the Court’s convenience.
                                                                         Respectfully,
                                                                         Michelle C. Streifthau-Livizos
                                                                         Michelle C. Streifthau-Livizos (#6584)
       cc: All Counsel of Record via ECF/CM

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